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                                 UNITED STATES DISTRICT COURT
14                         FOR THE NORTHERN DISTRICT OF CALIFORNIA

15    Innovation Law Lab, et al.,                       CASE NO.: 3:19-CV-00807-RS

16                    Plaintiffs,                       PROPOSED ORDER REGARDING
                                                        PARTIES’ JOINT MOTION &
17                                                      STIPULATION TO HOLD IN ABEYANCE
                      v.                                OR CONTINUE CONFERENCES UNDER
18                                                      LOCAL RULE 7-11
      Kirstjen Nielsen, et al.,
19
                      Defendants.
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      PROPOSED ORDER REGARDING PARTIES’ JOINT MOTION & STIPULATION TO HOLD
           IN ABEYANCE OR CONTINUE CONFERENCES UNDER LOCAL RULE 7-11
                             CASE NO.: 3:19-cv-00807-RS
        Case 3:19-cv-00807-RS Document 124-1 Filed 01/21/21 Page 2 of 3



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25   **Application for pro hac vice pending
     ***Pro hac vice application forthcoming
26

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     PROPOSED ORDER REGARDING PARTIES’ JOINT MOTION & STIPULATION TO HOLD
          IN ABEYANCE OR CONTINUE CONFERENCES UNDER LOCAL RULE 7-11
                            CASE NO. 3:19-cv-00807-RS
         Case 3:19-cv-00807-RS Document 124-1 Filed 01/21/21 Page 3 of 3




 1            The Parties’ Joint Motion & Stipulation to Hold in Abeyance or Continue Conferences

 2   Under Local Rule 7-11 is granted, and it is HEREBY ORDERED that:
 3            1. The January 28, 2021 case management conference and future conferences will be held
 4            in abeyance.
 5            2. Within 60 days of the issuance of the mandate in Wolf v. Innovation Law Lab, No. 19-
 6            1212 (S. Ct.), the parties will file a joint stipulation to set a case management conference
 7            or take other appropriate action with this Court.
 8   IT IS SO ORDERED.
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10   Dated:
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12                                                                          ____________________
                                                                            Hon. Judge Richard Seeborg
13                                                                          U.S. District Court Judge
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                                          CASE NO. 3:19-cv-00807-RS
